CRIMINAL COVER SHEET
MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

Indictment (
Complaint (
Information (
Felony (
Misdemeanor (
Juvenile (

Eva Zastrow
Defendant's Full Name

County of Offense:
AUSA’s NAME:

Reviewed by AUSA:

Davidson and Others

Amanda J. Klopf

_AJK
(Initials)

Interpreter Needed? Yes x No
Defendant's Address
If Yes, what language?
Defendant's Attorney
COUNT(S) TITLE/SECTION OFFENSE CHARGED MAX. PRISON (plus MAX. FINE
any mandatory
minimum)
2 18 USC 248(a)(1), 2 Violation of the FACE Act Not more than 1 year.* || $10,000

* In the case of a second or subsequent offense after a prior conviction under this section, not more than 3 years

Is the defendant currently in custody? Yes () No

Has a complaint been filed? Yes () No

(x )
(x )

Case No.:

If Yes: Name of the Magistrate Judge
Was the defendant arrested on the complaint? Yes ()
Has a search warrant been issued? Yes (x) No ()
Was bond set by Magistrate/District Judge? Yes () No (x )

To/from what district?
To/from what district?

Is this a Rule 20? Yes ( ) No(x)
Is this a Rule 40? Yes ( ) No(x)

Estimated trial time: 5 days

The Clerk will issue a Summons

If yes, State or Federal? Writ requested (  )

No ()

Amount of bond:

probable cause to a judicial officer, who will determine whether to issue a warrant)

Detention requested: Yes( ) No(x)
health services without prior approval of the probation office

(circle one) (Note: If information, request for a warrant requires presentment of a sworn affidavit of

Recommended conditions of release: _Do not enter a facility that provides reproductive

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Filed 10/03/22

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